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               IN THE UNITED STATES DISCTRIC COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        WAYCROSS DIVISION

DR. MAHENDRA AMIN, M.D.,

             Plaintiff,                      Case No. CV 521-022

      v.
                                             JURY TRIAL DEMANDED
RACHAEL O’BRIEN, MORBID: A
TRUE CRIME PODCAST LLC d/b/a
MORBID NETWORK, WONDERY,
LLC, and AMAZON.COM, INC.,

             Defendants.


                          COMPLAINT FOR DEFAMATION

      Plaintiff Dr. Mahendra Amin, M.D. hereby states his complaint for

defamation against Defendants Rachael O’Brien, Morbid: A True Crime Podcast

LLC d/b/a Morbid Network, Wondery, LLC, and Amazon.com, Inc. as follows:

                                 INTRODUCTION

      1.     Dr. Amin has practiced medicine for over 35 years, providing care to

underserved communities, and is the only OB/GYN physician in his home county

in a rural, southern area of Georgia.

      2.     In addition to treating patients at a local health clinic on a voluntary

basis and providing care at area jails where other physicians are scarce, from 2017

until 2020, Dr. Amin provided gynecological medical services at his office and the
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Irwin County Hospital to patients detained by the United States Immigration

Customs Enforcement (“ICE”) at the Irwin County Detention Center (“ICDC”) in

Ocilla, Georgia.

      3.      Around September 15, 2020, the media began reporting allegations,

brought by an advocacy organization that sought to abolish ICE and close down

ICDC, that women detained by ICE at ICDC had been subjected by Dr. Amin to

high numbers of hysterectomies without informed consent. This coverage resulted

in mental pain and suffering, the loss of patients, and public hatred and ridicule

directed toward Dr. Amin and other staff members at his office.

      4.      The allegations, particularly of high numbers of hysterectomies, were

discredited almost immediately, with ICE issuing a statement noting that Dr. Amin

had only referred two patients detained by ICE at ICDC for medically necessary

hysterectomies.

      5.      Indeed, the United States Senate Permanent Subcommittee on

Investigations Committee on Homeland Security and Governmental Affairs

investigated and, in November of 2022, issued a report which concluded that

allegations of “‘high rates’ of unauthorized hysterectomies on ICDC detainees”

were false.

      6.      Regardless, on April 16, 2023, several months after the Senate report

and attendant media coverage found that the allegations of high rates of

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hysterectomies were false, Defendants published a podcast entitled, “Seven Deadly

Sinners, Episode 142: The Uterus Collector.”

      7.     As the title indicates, the episode falsely accuses Dr. Amin of being an

abusive physician who performed mass hysterectomies and sterilization on women

detained by ICE at ICDC.

      8.     The false and defamatory statements, flatly contradicted by the Senate

report, factual evidence, and other reporting, attacked Dr. Amin’s character,

accused him of despicable crimes, and damaged his reputation as a physician.

                                    PARTIES

      9.     Dr. Amin is an individual who resides in Douglas (Coffee County),

Georgia.

      10.    Rachael O’Brien is an individual who, upon information and belief,

resides at 79360 Citrus, La Quinta, Riverside County, California 92253 and

sometimes at 31875 County Rd 53.7, Aguilar, Las Animas County, Colorado

81020. Ms. O’Brien’s business, Applause Breaks, Inc., is located at 79360 Citrus,

La Quinta, Riverside County, California 92253.

      11.    Morbid: A True Crime Podcast, LLC (“Morbid LLC”) is a

Massachusetts limited liability company. Upon information and belief, Morbid

LLC is doing business as “Morbid Network,” a podcast network including “Seven

Deadly Sinners,” which is hosted by Ms. O’Brien.

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      12.   Wondery, LLC (“Wondery”) is a Delaware limited liability company.

Wondery is a podcast publishing company based out of Culver City, California.

Wondery publishes Morbid Network, including the “Seven Deadly Sinners”

podcast.

      13.   Amazon.com, Inc. (“Amazon”) is a technology and media

conglomerate incorporated in Delaware and headquartered in Seattle, Washington.

Amazon owns Wondery.

                         JURISDICTION AND VENUE

      14.   Dr. Amin is a citizen of the State of Georgia for purposes of diversity

jurisdiction under 28 U.S.C. § 1332.

      15.   Ms. O’Brien is a citizen of California or Colorado for purposes of

diversity jurisdiction under 28 U.S.C. § 1332.

      16.   Morbid LLC is a citizen of Massachusetts for purposes of diversity

jurisdiction under 28 U.S.C. § 1332.

      17.   Wondery is a citizen of Delaware or California for purposes of

diversity jurisdiction under 28 U.S.C. § 1332.

      18.   Amazon is a citizen of Delaware or Washington for purposes of

diversity jurisdiction under 28 U.S.C. § 1332.

      19.   This Court has original jurisdiction of this action pursuant to 28

U.S.C. § 1332, as there exists complete diversity of citizenship between Dr. Amin

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and the defendants and the amount in controversy exceeds $75,000, exclusive of

interest and costs.

       20.     Defendants are subject to the jurisdiction of this Court because they

caused a tortious injury in this state and Defendants regularly do or solicit business

in Georgia and engage in a persistent course of conduct in Georgia.

       21.     Specifically, Defendants caused tortious injury to Plaintiff through the

false and defamatory statements about Dr. Amin in a podcast episode and

description.

       22.     Defendants regularly do and solicit business and engage in a persistent

course of conduct in Georgia in the form of publishing podcasts that are available

to Georgia listeners, and by soliciting and obtaining subscribers through an

interactive web site available in Georgia.

       23.     Upon information and believe, Defendants have a substantial

community of listeners and subscribers, including paying subscribers, in Georgia.

       24.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to Dr. Amin’s claim occurred

in this district.

       25.     In the alternative, venue is proper in this Court under 28 U.S.C. §

1391(b)(3) because at least one defendant is subject to its personal jurisdiction.




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                          FACTUAL BACKGROUND

                                       Dr. Amin

      26.    Dr. Amin was born, raised, and completed medical school in India.

      27.    Dr. Amin grew up very poor, living in homes with dirt floors. But his

parents sacrificed to help him through medical school. His parents sold the only

land they owned and borrowed money to make sure he could finish his education.

      28.    Dr. Amin lived up to his parents’ sacrifice, becoming one of only

eight out of 300 medical student hopefuls from his district in India who could

ultimately enroll in medical school.

      29.    When he first came to the United States, he worked in a New York

City subway store and sold newspapers in Brooklyn, working 12 hours a day, six

days a week, all while studying for additional medical exams required of foreign

students.

      30.    He completed his Residency in Gynecology in the United States and

has been licensed to practice medicine in Georgia for over 35 years.

      31.    Dr. Amin remembers his humble beginnings and the power of

someone sacrificing so that others can have a better future. He is also keenly

aware of the problems facing patients in largely rural areas and in healthcare and

hospital deserts. That is why he has practiced in underserved areas nearly his

entire medical career.

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        32.   Dr. Amin is the sole OB/GYN physician in Irwin County, Georgia.

        33.   Dr. Amin loves this country and all it has afforded him, and he is

determined to give back.

        34.   He is devoted to medicine and to providing care to underserved

communities.

        35.   Concrete evidence of Dr. Amin’s principles is not hard to find. For

instance, in the early to mid-1990s, Irwin County Hospital was on the brink of

closing its doors. Dr. Amin put up his own money, hired a management team, and

kept the hospital alive. The hospital improved with Dr. Amin’s leadership—

adding more patient rooms and completing several other upgrades.

        36.   Over the course of his medical career, Dr. Amin has regularly worked

36-hour shifts, seen over 60 patients in a day, and delivered over 400 babies in a

year.

        37.   He has often worked for free and for many years, he kept regular daily

office hours and performed hospital surgeries at night, all to ensure—as much as

he could prevent it— that no one who needed care would go without.

        38.   Dr. Amin has not taken a vacation in over 25 years.

        39.   On his rare weekends away, he remains “on call” and instructs his

nursing staff to call him if any of his patients go into labor so that he can return and

deliver the babies and care for their mothers.

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         40.     He regularly treated patients in area jails because he knows that if he

does not provide treatment, it is likely the patients will go without.

         41.     Dr. Amin provides medical care to patients at a local health clinic at

least once per week on a volunteer basis.

         42.     Many, if not most, of Dr. Amin’s patients fall below the poverty line

and are on Medicaid.

         43.     Dr. Amin also regularly treats uninsured patients (some who drive

over 100 miles to see him) and accepts whatever patients can pay in return.

         44.     He never turns away a patient for inability to pay.

                                       Rachael O’Brien

         45.     Ms. O’Brien is an entertainer who has previously worked as an actress

and a touring comedian.

         46.     Ms. O’Brien rose to prominence as a romantic partner and friend of

the stars of the popular reality television show “Vanderpump Rules,” though she

does not seem to have appeared on the show in several years.

         47.     In 2020, Ms. O’Brien began publishing the “Seven Deadly Sinners”

podcast, which she describes as a “hellish journey of deception all under the guise

of Faith.”1




1
    See https://wondery.com/shows/seven-deadly-sinners/ (last visited March 18, 2023).
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          48.    Seven Deadly Sinners has approximately 200 episodes, focusing on

people she labels “Sinners,” and characterizes as follows: “people who believe

they deserve every little thing they desire, and hurting others along the way…well

that’s just road kill [sic].”2

          49.    Seven Deadly Sinners is published with the podcast network Morbid

Network through Wondery.com.

          50.    From December 2022 through July 2023, Ms. O’Brien hosted another

podcast called “Deadly Diocese” about the death of a priest in the Buffalo, New

York diocese. Deadly Diocese is also published with the Morbid Network through

Wondery.com.3

                            Morbid LLC and Morbid Network

          51.    In 2018, Morbid LLC launched a podcast called “Morbid: A True

Crime Podcast,” an anthology series covering “true crime, creepy history, and all

things spooky.”4

          52.    The podcast’s success led its two hosts to create the Morbid Network.

          53.    There is no single definition of the term, but a podcast network is

generally a company or entity that produces or distributes multiple podcasts




2
    Id.
3
    See https://wondery.com/shows/deadlydiocese/ (last visited March 19, 2024).
4
    https://wondery.com/shows/morbid-a-true-crime-podcast/ (last visited March 18, 2023).
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through the single umbrella entity. As a business relationship with podcast

creators, the network offers production support and guidance, audience metrics,

and advertising and marketing services, typically in exchange for a portion of a

podcast’s revenue or ad sales.

         54.     Podcast networks can be large or small and can operate within various

levels or sub-networks depending on the multiple factors such as the services

offered, target audiences, or similarities in theme.

         55.     Morbid Network has partnered with creators to build a family of 13

podcast series=, including Seven Deadly Sinners (and Deadly Diocese).

         56.     Seven Deadly Sinners is identified as part of the Morbid Network in

multiple ways. For instance, the show’s thumbnail image includes the Morbid

Network’s trademarked logo.5

         57.     Seven Deadly Sinners is identified as under the “Morbid” umbrella on

its own home page on Wondery.com and also on the Morbid Network’s homepage

on Wondery.com.6

         58.     The first words heard in episodes of Seven Deadly Sinners, starting

from its premiere on June 29, 2020, are, “You’re listening to a Morbid Network

Podcast.”



5
    See screenshot, ¶ 101, below.
6
    See https://wondery.com/morbidnetwork/?lg=en (last visited March 19, 2024).
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         59.     Morbid Network engages in substantial cross-promotion.

         60.     For example, Ms. O’Brien has appeared as a special guest on other

Morbid Network podcasts. For instance, on January 27, 2021, Ms. O’Brien

appeared on the Morbid Network podcast “Cult Liter with Spencer Henry,” who

described Ms. O’Brien as a friend and “Morbid Network Partner.”

         61.     On October 16, 2022, Ms. O’Brien appeared on the Morbid Network

podcast Alone at Lunch.

         62.     Ms. O’Brien also appeared with the two hosts of Morbid Podcast and

founders of the Morbid Network on The Strange and Unusual Podcast in February

2021. The episode’s description encourages its audience to “[t]ake a listen and fall

in love with more of the Morbid Network family!”7

                                            Wondery

         63.     Wondery is a podcast network and publisher founded in 2016.

         64.     Wondery is one of the largest podcast networks in the country and is

consistently ranked in the top 3 by industry analysts.

         65.     Wondery’s podcasts have attained critical and commercial success,

earning numerous awards and large audiences. Several Wondery podcasts have

been turned into television programs.


7
    See https://wondery.com/shows/the-strange-and-unusual-podcast/episode/10873-morbid-
          network-presents-a-chat-with-rachael-obrien-from-seven-deadly-sinners-special-episode/
          (last visited March 25, 2024)
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      66.    Wondery touts its “specialized marketing capabilities,” “in-house

monetization solutions,” and “strong relationships with key distribution partners”

as benefits to creators or other podcast networks considering paying for its

services.

      67.    As described more fully below, in 2022 Wondery and Amazon

entered into an exclusive distribution and merchandising agreement with Morbid

Network.

                                      Amazon

      68.    Amazon is a global conglomerate with substantial activities in

Georgia.

      69.    In 2020, Amazon, as Amazon Music, agreed to purchase Wondery for

a reported $300 million.

      70.    The deal closed in early 2021. Wondery now operates out of

Amazon’s offices at 9300 Culver Boulevard in Los Angeles. This building is part

of the hundreds of thousands of square feet Amazon has purchased or leased for its

media and production services, including Amazon Studios.

      71.    Amazon Music is not registered as a business entity in California,

Washington, or Delaware. Rather, Amazon Music seems to be in essence a d/b/a

or trade name of Amazon.com, Inc.




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      72.   Upon information and belief, Amazon Music’s offices are in or near

Amazon’s 9300 Culver Boulevard building along with Wondery, Amazon Studios,

and other Amazon business offices.

      73.   Amazon and Wondery have an exclusive deal with Morbid Network.

Pursuant to this deal, Amazon and Wondery have exclusive rights to Morbid

Network’s ad sales, merchandising, and distribution. Amazon and Wondery also

have a “windowing deal,” meaning there is a “window” during which new Morbid

Network context is available exclusively through Wondery and Amazon before it

is available on the broader podcast market.

      74.   Further, Morbid Podcast and Seven Deadly Sinners have Instagram

pages, but the only official web pages for Morbid Podcast or the Morbid Network

podcasts, including Seven Deadly Sinners, are on Wondery.com.

      75.   Official Morbid Network merchandise is available only through

Wondery.com.

      76.   In short, Wondery and Amazon are the online home of the Morbid

Network and Seven Deadly Sinners.

      77.   This opportunity is not available to any podcast creators or networks.

Rather, upon information and belief, creators or networks must either be

approached by Wondery and Amazon or must apply to Wondery and Amazon to

become part of their network.

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      78.   For instance, Wondery’s web site permits podcast creators to “submit

a request” to partner with the Wondery Network, which requires providing

Wondery and Amazon with information including the podcast’s “average 60-day

downloads per episode.”

                        Project South’s Media Campaign

      79.   On September 14, 2020, Project South, a non-profit organization that

portrays its mission as “eliminating poverty and genocide” and “cultivating strong

social movements,” sent a letter to the Department of Homeland Security, the ICE

Atlanta Field Office, and the ICDC (the “Letter”).

      80.   The Letter was not part of a complaint filed in any court or submitted

as part of any administrative proceeding.

      81.   Dawn Wooten, the alleged source of the information contained in the

Letter, did not seek to be anonymous and did not seek any other protections that

could be afforded to true whistleblowers who file formal complaints. Instead, she

sought the limelight. She has also created or benefitted from multiple GoFundMe

campaigns that have raised tens of thousands of dollars.

      82.   The Letter did not identify Dr. Amin.

      83.   The Letter contained allegations regarding conditions at the ICDC,

mostly relating to COVID-19. The Letter also contained allegations of high rates

of hysterectomies at the ICDC.

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      84.    Instead of waiting for an investigation into the allegations, Project

South immediately worked to sensationalize the contents of the Letter by sharing it

widely with the news media.

      85.    The media aired various stories about Dr. Amin beginning on or about

September 14, 2020.

      86.    Only one day after the Letter was sent—and years before the false and

defamatory podcast episode underlying this suit—it was revealed that (a)

allegations of mass hysterectomies were not based on first-hand accounts and were

shared in the Letter only for prurient effect; and (b) ICDC and Irwin County

Hospital confirmed that Dr. Amin had performed only two hysterectomies on

ICDC patients.

                 Government Investigations and the Senate Report

      87.    Even though the Letter was immediately revealed to be based on

hearsay and sensationalized second-hand reports, the allegations of hysterectomies

led to multiple investigations.

      88.    The allegations were thoroughly investigated by myriad government

entities, including the Department of Homeland Security Office of Inspector

General, the United States Senate Permanent Subcommittee on Investigations

Committee on Homeland Security and Governmental Affairs, the Georgia

Composite Medical Board, and the Department of Justice, none of which have

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substantiated the allegations regarding mass hysterectomies or sought to punish Dr.

Amin.

        89.   Currently, only the Department of Justice’s investigation appears to

remain open, but it has notably been over three years since the original allegations,

and no charges have been made.

        90.   Rightfully appalled by the accusations, Dr. Amin has cooperated with

the investigations and helped them ascertain the truth.

        91.   For instance, the Georgia Composite Medical not only concluded that

the allegations were unsubstantiated and permitted him to continue practicing, but

thanked Dr. Amin for his cooperation.

        92.   In November 2022, the United States Senate Permanent

Subcommittee on Investigations Committee on Homeland Security and

Governmental Affairs issued a report (the “Senate Report”), finding that

allegations of “‘high rates’ of unauthorized hysterectomies on ICDC detainees”

were false.

        93.   Indeed, the Senate Report unequivocally rejected the allegation that

Dr. Amin had performed high numbers of hysterectomies, stating: “The

Subcommittee did not substantiate the allegations of mass hysterectomies on ICDC

detainees. Records indicate that Dr. Amin performed two hysterectomies on ICDC




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detainees between 2017 and 2019. Both procedures were deemed medically

necessary by ICE.”

      94.    Moreover, in both instances, the patients were informed and

consented to the procedures. In both instances, ICE conducted an independent

review of the treatment plans and approved the procedures. In both instances,

experts reviewing the procedures after-the-fact agreed that the procedures were

necessary—and one even “life-saving.”

      95.    At most, the Senate Report stated that there “appeared” (based only on

statistical comparison to other ICE facilities) to be excessive gynecological

treatment and failures to secure informed consent.

      96.    In fact, these statements regarding non-hysterectomy gynecological

treatment and failure to obtain informed consent are contradicted by medical

records and testimonial evidence.

                      Publication of “The Uterus Collector”

      97.    On April 16, 2023, Ms. O’Brien, Morbid LLC, Wondery, and

Amazon published Seven Deadly Sinners, Episode 142 (the “Podcast Episode”).

      98.    In keeping with the Defendants 2020 agreement, upon information

and belief, the Podcast Episode was exclusively available on Wondery and

Amazon for one week.




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      99.    This episode contains numerous false and defamatory statements

about Dr. Amin, beginning with the very title: “The Uterus Collector.”

      100. The description of the Episode, posted on Seven Deadly Sinner’s

homepage on Wondery.com, is: “This one is so diabolical I almost didn’t believe it

myself until I started researching. And researching. And finding dozens upon

dozens of articles and videos from all over the world describing the evil sins this

man committed to the bodies of women without their consent — and sometimes

without their verbal understanding. And trigger warning — this episode will deal

with descriptions of unfathomable gynecological abuse.”

      101. Below is a screenshot of the Podcast Episode’s page on Wondery’s

web site:




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      102. Throughout the Podcast Episode, Defendants published numerous

other false and defamatory statements about Dr. Amin.

      103. Ms. O’Brien described the practices alleged in the Letter—which, by

this point, had been discredited by no less than the United States Senate, as a form

of discriminatory eugenics:

      Eugenics…This movement, it embraces eliminating undesirable
      genetic traits through selective breeding. We’re talking forced
      sterilization.

      Eugenics resulted in men being sterilized to treat aggression and
      criminal behavior, while women were sterilized to control their
      sexuality or reproduce less desirable members of society.

      According to an article from the University of Washington, those with
      undesirable traits were identified as nonwhite, of lower economic
      status, or were physically or mentally disabled. In addition, criminals
      and those that were deemed sexually deviant were considered
      undesirable.

      104. Ms. O’Brien later explicitly linked Dr. Amin to this charge of

eugenics:

      A five-page report was submitted to members of Congress alleging that
      both Dr. Amin and the referring detention facility took advantage of the
      vulnerability of women in detention to pressure them to agree to overly
      aggressive, inappropriate, and unconsented medical care. The women
      affected, it’s worth noting, were mostly Black, or Latino, from Africa,
      Latin America, or the Caribbean. Again, this is where the eugenics
      comes into question. What was Dr. Amin’s motive? His goal?

      Hey, you don’t sound white either, buddy. What are you doing here?
      What’s the plan? Power? Pride? Is it your sick pride?

      105. Ms. O’Brien made the following false and defamatory statement:
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      Whistleblowers began reporting abuse to the highest levels of
      government. This is how deep this story goes. And it involves innocent
      immigrant women detained in ICE facilities and one gynecologist hell
      bent on sterilization.

      106. Underscoring her bias and that she was stating the disproven

allegations as fact, O’Brien said, “This is perhaps one of the most horrific cases I

have ever researched. And that’s saying a lot.”

      107. Defendants republished many false and discredited allegations,

embellished with Ms. O’Brien’s own false and defamatory commentary:

      [Dawn Wooten] alleged that a medical professional there basically took
      the uterus of nearly every woman she came across in recovery rooms at
      the facility. She was so disgusted by what she saw that her complaints
      were filed as part of a 27-page whistleblower complaint to the
      Department of Homeland Security Inspector General through the
      whistleblower advocacy group, the Government Accountability
      Project. And thank goodness she did. She felt compelled as a nurse to
      report what she was seeing, the horrific and inhumane treatment of
      innocent immigrant women.

      But this document also mentions complaints from immigrant women at
      this particular facility regarding the sheer number of women at the Irwin
      facility undergoing hysterectomies.

      But the hysterectomies, were those accusations thrown in by a
      disgraced, demoted employee actually true? Those in positions of
      authority in the facility feigned doubt or willingly turned a blind eye
      until victims started coming forward in September of 2020.

      Detainees were not receiving adequate information to consent in a full,
      informed manner to hysterectomies, sterilization, reproductive surgery
      procedures and that hysterectomy, sterilization, reproductive surgery
      procedures were being performed unnecessarily on patients who could
      have been treated using other noninvasive methods.

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   It came when women inmates at the Irwin County Detention Center
   began approaching her asking about mysterious surgical procedures
   they were getting that they did not fully understand.

   They would leave, go get treatment, and they would return back to the
   facility to be monitored. They would talk about the incisions that they
   have had or would have on the abdomen laparoscopically. And they
   realized that there was invasive procedures that were done.

   Wooten began looking up their records. What she found was
   astonishing. She says a doctor was performing life changing surgeries
   on the women that they say they didn’t want or properly consent to.

   What procedures were they doing? Hysterectomies and tubal ligations
   and tubal removals. Ovary removals. D&Cs.

   So you’re saying that physicians were sterilizing these women without
   their permission and unbeknownst to them?

   Her records do not include a signed consent form. She had no idea what
   she was going under anesthesia for. Sorry, that just made me cry.
   Because, you know, as a woman that wants to have kids, that is so
   fucked up. Sorry for the language. Happy Easter. Anyhoo. Women
   were also referred to Dr. Amin for non-gynecological complaints like
   hernias or rib pain. And these women were often pressured into having
   surgeries that either weren’t necessary or that they never consented to,
   according to the report. And heaven forbid they say no or retaliate,
   because oftentimes Dr. Amin would send these patients for psychiatric
   evaluation if they did.

   This guy is a monster.

   What could the motivation be in all of this, though, if it is, in fact, true?
   I believe it’s true. Are we really talking eugenics or is it greed? Is he
   making money off of this? In my research, it has become clear that the
   Homeland Security Department pays independent doctors for
   procedures they perform on patients in such facilities. Great. So that
   makes everything done at ICE facilities super legit then. Oof! This is
   rough.

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      [One woman] then underwent a procedure. We don’t know if she had
      given her consent or knew what she was going in for and said that when
      she awakened she was told her fallopian tubes were damaged and no
      good, and he let me know, I’m never going to be able to have kids. I
      was crushed. I was hearing and some of the stories they were saying
      that he was removing women’s tubes without their permission. I
      thought, what if he just removed my tubes?

      Cherise is still unclear what the doctor may have done to her during her
      surgery. She said, “I thought, I don’t think I want him to touch me.
      Because we’re immigrants, they just did whatever they wanted to do
      with us.”

      Another patient named Wendy woke up after surgery with bandages on
      her stomach and had to ask the medical office what kind of surgery she
      had had. Later, when she refused to get a hysterectomy, she recalled Dr.
      Amin asking her, “How many kids you got? Well, I don’t see why you
      can’t take it out.” He’s cool.

      Many of the women weren’t given access to their medical records,
      perhaps as retaliation for their complaints. Many of the records obtained
      were incomplete or inaccurate, with a number of the surgeries
      performed not recorded correctly, if at all. Because of this, many
      women don’t have a clear picture of what might have been done to
      them. It’s just horrifying. To not have the money to be able to also get
      a scan done to know what was done on your body, to see which part
      may no longer be there is just an absolute unethical, illegal criminal,
      scumbag nightmare.

      108. Through the Podcast Episode, Defendants also republished other false

and defamatory comments from other media broadcasts, again peppered with Ms.

O’Brien’s own false and defamatory additions. For instance, the Episode featured

this MSNBC clip:

      We’ve been chasing this story all day along some of my colleagues here
      at NBC. Tonight, we can report a lawyer named Benjamin Osorio,
      representing women at that very facility, told NBC News that, indeed,
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      two of his clients received hysterectomies they believe may have been
      unnecessary. And tonight we here on All Ends spoke with another
      attorney who represents two different women who claim they also had
      unnecessary hysterectomies while detained at this facility. That lawyer
      tells us that as many as 15 immigrant women were given full or partial
      hysterectomies or other procedures for which no medical indication
      existed.”

      Of course, the “referred” is the question here.

      109. Incredibly, Ms. O’Brien even referenced the very Senate Report that

concluded there was no merit to the mass hysterectomy allegations, but she made

no statement whatsoever about the Report’s conclusions in this regard.

      110. Instead, Ms. O’Brien doubled down on the sensational allegations:

      According to the records that were found and released, they were being
      sterilized without consent. And in my mind, I’m going to, this can’t be
      happening. I don’t see what I see. I can’t be observing what I see. This
      can’t be the same for just about every chart. What is really going on?
      was the question that I asked myself.

      A 60-page document was then presented to the politicians that alleged
      that Dr. Mahendra Amin, the primary gynecologist at the facility,
      coerced them into having overly aggressive or medically unnecessary
      surgeries, in most cases without their consent.

      The surgeries of at least 19 of the women at Irwin specifically included
      the removal of their reproductive organs—uterus, ovaries, fallopian
      tubes—without the patient’s consent.

      A report written by a team of nine board-certified OB GYNs and two
      nursing experts affiliated with the academic medical centers such as
      Baylor College of Medicine and Northwestern University, not only
      detailed but supported the women’s allegations. And these medical
      experts poured over more than 3200 pages of what was saved from the
      shredder, medical records obtained for these women, including
      pathology and radiology reports, prescriptions, consent forms,
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      telephone interviews, sworn declarations, and the like. And in all of
      these thousands of pages of records for these women—I can’t even
      make sense or fathom this—they only found one signed consent form
      in English from a woman whose primary language was Spanish. Did
      she know what she was signing? Did she have an interpreter? It makes
      me so sick. It’s—it’s beyond unethical. It’s criminal.

      111. Ms. O’Brien took further potshots at Dr. Amin that made it clear she

was asserting that the allegations were factually accurate. For example, she said,

“And if you’re in the market for a new gynecologist, his office is currently

accepting new patients. I think that’s scary.”

      112. Ms. O’Brien also said that Dr. Amin “chained” his patients.

      113. The Podcast Episode’s allegations about ICDC and Dr. Amin

concluded with this statement: “One thing is for sure: the atrocities committed at

this facility are beyond comprehension.”

      114. Through these and other statements, Defendants accused Dr. Amin of

performing mass hysterectomies that were not medically necessary on ICDC

detainees and of otherwise abusing his patients.

      115. In the Podcast Episode, Defendants published numerous false and

defamatory statements without any investigation into the truth or falsity and in the

face of contradictory information already known at the time the Podcast Episode

aired and, most likely, even at the time the Podcast Episode was recorded.

      116. Defendants never spoke to Dr. Amin about the contents of the Podcast

Episode.
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      117. Defendants were not interested in the truth; they were interested in the

shock value of the allegations as a method of drawing attention to their podcasts.

      118. It is beyond reasonable belief that detainees in an ICE facility, such as

ICDC, could undergo surprise hysterectomies without consultation and consent.

      119. ICE performs an independent review for all surgical procedures and

issues its approval or denial for such procedures.

      120. This review process requires an ICDC nurse and an independent

physician to review a patient’s medical records and determine if the requested

procedure is medically necessary. The process typically takes around two weeks.

      121. Dr. Amin has never performed a procedure on an ICDC patient

without going through this process.

      122. ICE provided such review and approval for both hysterectomies that

Dr. Amin performed on ICDC patients.

      123. An independent physician review of those procedures confirmed that

the procedures were medically necessary, and that the procedures were discussed

with and consented to by both patients.

      124. Dr. Amin always obtains informed consent from his patients.

      125. Dr. Amin utilizes interpreters when treating patients who do not speak

or understand English.




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       126. When Dr. Amin treated ICDC patients, he was accompanied by at

least one other person. This was a matter of protocol.

       127. Dr. Amin has never treated any patient inappropriately.

       128. Further, by the time Defendants published the Podcast Episode, the

allegations had been repeatedly discredited.

       129. By the time Defendants published the Podcast Episode, the Senate

Report had concluded, after investigation, that Dr. Amin had not performed mass

hysterectomies of any kind, and that the two hysterectomies he had performed for

women at ICDC were medically necessary.

                                     Damages

       130. Dr. Amin’s personal reputation and his reputation as a physician have

been damaged by the false and defamatory statements in the Podcast Episode.

       131. Further, Dr. Amin has suffered stress, emotional distress,

embarrassment, humiliation, anger, and other mental pain and suffering.

       132. Dr. Amin has also suffered public hatred, contempt, scorn, and

ridicule.

       133. Dr. Amin has been the recipient of multiple vile and hateful telephone

calls that no person should have to endure.

       134. Dr. Amin continues to fear for his safety. He fears that people are

following him and talking about him in public.

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       135. Dr. Amin has also withdrawn from social and community activities he

previously enjoyed.

                  CAUSE OF ACTION FOR DEFAMATION

       136. Dr. Amin incorporates by reference paragraphs 1-135 of this

Complaint as though the same were set forth herein in their entirety.

       137. Defendants’ April 16, 2023, Podcast Episode contains numerous false

and defamatory statements.

       138. Defendants’ web page for the April 16, 2023, Podcast Episode also

contains false and defamatory statements about Dr. Amin.

       139. The Podcast Episode was published to third parties and available for

third parties across the United States and around the world to listen and read, and

third parties did listen to the Podcast Episode and read its description and

transcript.

       140. For instance, the Podcast Episode is available through other audio

services including Apple Podcasts and Spotify.

       141. The Podcast Episode is of and concerning Dr. Amin, because, among

other reasons, Defendants identified Dr. Amin by name, profession, and location.

       142. Specific false and defamatory statements from the Podcast Episode

include that Dr. Amin: (i) was an “unethical, illegal, criminal, scumbag




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nightmare;” (ii) was “hell-bent on sterilization;” (iii) engaged in eugenics; and (iv)

committed “horrific and inhumane treatment of innocent immigrant women.”

      143. The written description of the Podcast Episode also included false and

defamatory statements, such describing Dr. Amin’s medical care as “evil sins this

man committed to the bodies of women without their consent.”

      144. Dr. Amin performed only two hysterectomies on ICDC patients. Both

were medically necessary.

      145. The Podcast Episode is defamatory per se so damages as to Dr. Amin

are presumed as a matter of law.

      146. The gist of the Podcast Episode is false and defamatory per se because

it conveys accusations that Dr. Amin is an unethical and dishonest physician with

no regard for the safety and well-being of his patients, and that he actively and

intentionally sought to hurt them.

      147. For instance, the Podcast Episode accuses Dr. Amin of being “hell-

bent on sterilization” and of engaging in eugenics.

      148. The Podcast Episode is defamatory per se because it injures Dr.

Amin’s professional reputation.

      149. For instance, the Podcast accuses Dr. Amin of treating his patients in a

“horrific and inhumane” manner and of sterilizing patients without their consent.




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         150. The Podcast Episode is defamatory per se because it accuses Dr.

Amin of criminal activity.

         151. For instance, the Podcast Episode accuses Dr. Amin of chaining his

patients and of performing mass hysterectomies without patient consent, which

constitute battery under Georgia law.

         152. Defendants published the April 16, 2023, Podcast Episode without

privilege.

         153. Evidencing a reckless disregard for truth or falsity, Defendants

knowingly and purposely avoided the truth and ignored evidence establishing the

falsity of the April 16, 2023, Podcast Episode prior to its publication.

         154. Evidencing a reckless disregard for truth or falsity, Defendants

published the April 16, 2023, Podcast Episode, which contained statements that

were so inherently improbable on their face as to raise serious doubts about their

truth.

         155. Evidencing a reckless disregard for truth or falsity, Defendants

published the April 16, 2023, Podcast Episode, which contained statements that

were so outrageous on their face as to raise serious doubts about their truth.

         156. For instance, it is inherently improbable and outrageous that there was

a plot to mass sterilize patients at ICDC or that ICE would permit or overlook

unconsented mass hysterectomies.

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      157. Evidencing a reckless disregard for truth or falsity, Defendants

published the April 16, 2023, Podcast Episode, which contained statements that

contradicted known facts.

      158. For instance, by April 16, 2023, the Senate Report concluding the

mass hysterectomy allegations were unsubstantiated had been available for

months.

      159. Defendants published the April 16, 2023, Podcast Episode without

conducting a reasonable investigation.

      160. For instance, a reasonable investigation would have shown none of

the multiple investigations into the allegations found them credible or

substantiated.

      161. Defendants had actual knowledge that the accusations against Dr.

Amin were false prior to publication of the April 16, 2023, Podcast Episode.

      162. For instance, the Podcast Episode references the Senate Report but

omits any information about its conclusion that the mass hysterectomy allegations

were wrong.

      163. Defendants negligently published the April 16, 2023, Podcast

Episode.




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       164. Defendants published the April 16, 2023, Podcast Episode with actual

malice, that is, with actual knowledge of falsity or a reckless disregard for truth or

falsity.

       165. Defendants are liable for damages for the April 16, 2023, Podcast

Episode and for all republications of the April 16, 2023, Podcast Episode and its

description.

       166. The April 16, 2023, Podcast Episode directly and proximately caused

substantial and permanent damage to Dr. Amin.

       167. Dr. Amin has suffered special damages as a direct and proximate

result of the April 16, 2023, Podcast Episode.

       168. Dr. Amin’s personal reputation and his reputation as a physician have

been damaged as a direct and proximate result of the April 16, 2023, Podcast

Episode.

       169. Dr. Amin has suffered stress, emotional distress, embarrassment,

humiliation, anger, and other mental pain and suffering as a direct and proximate

result of the April 16, 2023, Podcast Episode.

       170. Dr. Amin has suffered public hatred, contempt, scorn, and ridicule as

a direct and proximate result of the April 16, 2023, Podcast Episode.

       171. Dr. Amin has suffered emotional distress as a result of the April 16,

2023, Podcast Episode.

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      172. Dr. Amin has also suffered damage to his business and medical

practice as a result of the Podcast Episode.

      173. Because Defendants published the April 16, 2023, Podcast Episode

with both Constitutional and common law malice, Dr. Amin is entitled to an award

of punitive damages to punish Defendants for their wrongdoing and deter them

from repeating such heinous conduct in the future against others.

      174. Defendants’ conduct was willful and demonstrates that entire want of

care that raises a conscious indifference to consequences.

      175. Notwithstanding all the information available, Defendants refused to

retract or correct their defamatory statements.

      176. On August 7, 2023, Dr. Amin sent Defendants a letter identifying

examples of the false and defamatory statements in the Podcast Episode and its

description, and demanding Defendants retract the Podcast Episode and publish a

correction of their false and defamatory statements.

      177. To date, however, the Podcast Episode and its description remain

available to the public on Wondery, Amazon Music, and on other podcast-hosting

platforms, including Apple Music and Spotify.

      WHEREFORE, Dr. Amin demands:

      (a)    Trial by jury;




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      (b)   That judgment be entered against Defendants jointly and severally for

compensatory damages in an amount not less than Five Million Dollars

($5,000,000.00);

      (c)   That judgment be entered against Defendants jointly and severally for

punitive damages in an amount not less than Ten Million Dollars ($10,000,000.00)

to punish and penalize Defendants and deter them from repeating his unlawful

conduct;

      (d)   That Dr. Amin’s reasonable attorneys’ fees and all costs of this action

be assessed against Defendants; and

      (e)   That this Court award such other relief as it deems equitable, just, and

proper.

DATED: March 27, 2024.             Respectfully submitted,

By:                                /s/ Stacey Godfrey Evans


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